     Case 3:17-cv-01112-JLS-NLS Document 121 Filed 07/15/19 PageID.6821 Page 1 of 1


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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    SYLVESTER OWINO and JONATHAN                      Case No.: 17-CV-1112 JLS (NLS)
      GOMEZ, on behalf of themselves and all
12
      others similarly situated,                        ORDER SETTING BRIEFING
13                                    Plaintiffs,       SCHEDULE RE: PLAINTIFFS’
                                                        MOTION FOR PARTIAL
14    v.                                                SUMMARY JUDGMENT
15
      CORECIVIC, INC., a Maryland
                                                        (ECF No. 97)
16    corporation,
17                                   Defendant.
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19          Presently before the Court is Plaintiffs Sylvester Owino and Jonathan Gomez’s
20    Motion for Partial Summary Judgment (“Mot.,” ECF No. 97), noticed for a hearing on
21    October 10, 2019. The Court SETS the following briefing schedule for the Motion:
22    Defendant CoreCivic, Inc. SHALL FILE its Opposition on or before September 5, 2019,
23    and Plaintiffs MAY FILE their Reply, if any, on or before September 26, 2019.
24          IT IS SO ORDERED.
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26    Dated: July 15, 2019
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                                                                             17-CV-1112 JLS (NLS)
